Case 19-22280-CMB       Doc 76-1 Filed 07/28/20 Entered 07/28/20 08:17:25             Desc
                         Certificate of Service Page 1 of 3


             IN THE UNITED STATES BANKRUPTCY COURT
            FOR THE WESTERN DISTRICT OF PENNSYLVANIA


         MARK PANCARI,                        Bankruptcy No.: 19-22280-CMB
         CATHLEEN PANCARI,                    Chapter 13
                                              Document No.:
                Debtors,

         MARK PANCARI,
         CATHLEEN PANCARI,
             Movants,
             vs

         CARVANA,
         RONDA WINNECOUR, Trustee,

                Respondents.



   CERTIFICATE OF SERVICE OF MOTION TO APPROVE FINANCING AND
           NOTICE OF HEARING ·WITH RESPONSE DEADLINE


  I, David A Rice, Esq., certify under penalty of perjury that I served the above captioned
  pleading Debtor's Motion along with Notice of Hearing with Response Deadline on the
  parties at the addresses on the attached matrix, on·July 28. 2020 by US Postal Service
  First Class Mail.


  Ronda J. Winnecour, Trustee                        US Trustee
  3250 USX Tower, 600 Grant Street                   1001 Liberty Avenue, Ste. 970
  Pittsburgh, PA 15219                               Pittsburgh, PA 15222

  EXECUTED ON: July 28, 2020

                                              By:    Isl David A Rice
                                                     David A Rice, Esq.
                                                     PA 1.0. 50329
                                                     Rice & Associates Law Firm
                                                     15 W. Beau Street
                                                     Washington, PA 15301
                                                     Ricelawl@verizon.net
                                                     (724) 225-7270
              Case 19-22280-CMB            Doc 76-1 Filed 07/28/20 Entered 07/28/20 08:17:25               Desc
Label Matrix for local noticing             Certificate  of Service
                                              PRA Receivables              Page 2 of 3
                                                              Management, LLC          2
0315-2                                        PO Box 41021                              U.S. Bankruptcy Court
Case 19-22280-00                              Norfolk, VA 23541-1021                    5414 U.S. Steel Tower
WESTERN DISTRICT OF PENNSYLVANIA                                                        600 Grant Street
Pittsburgh                                                                              Pittsburgh, PA 15219-2703
Mon Jul 27 14:23:21 EDT 2020
Aes/pheaa                                     American Education Services               Barclays Bank Delaware
P.O. Box 2461                                 1200 North 7th Street                     Attn: Coi:re-spondence
Harrisburg, PA 17105-2461                     Harrisburg, PA 17102-1419                 Po Box 8801
                                                                                        Wilmington, DE 19899-8801


Barclays Bank Delaware                        Chase Mortgage                            Citibank, N.A.
c/o Michael Ratchford, Esq.                   3475Vision Drive                          701 East 60th Street North
409 Lackawana Ave., Suite 3C                  Columbus, OB 43219                        Sioux Falls, SD 57104-0493
Scranton, PA 18503-2059


Collection Service Ctr / Wash Ped Adoles      (p)COLUMBIA GAS                           Cornerstone Care
Attn: Bankruptcy                              290 W NATIONWIDE BLVD 5TB FL              7 Goassworks Road
Po Box 560                                    BANKRUPTCY DEPARTMENT                     Greensboro, PA 15338-9507
New Kensington, PA 15068-0560                 COLUMBUS OH 43215-4157


Discover Bank                                  (p)DISCOVER FINANCIAL SERVICES LLC       Ditech Financial LLC
Discover Products Inc                          PO BOX 3025                              P.O. Box 12740
PO Box 3025                                    NEW ALBANY OH 43054-3025                 Tempe, AZ 85284-0046
New Albany, OB 43054-3025


Ditech Financial LLC                           Ditech Mortgage                          Independence - Cross Creek Jt Sewage
c/o Kevin McDonald, Esq.                       P.O.Box 94710                            P.O. Box 156
KLM Law Group                                  Palatine, IL 60094-4710                  Avella, PA 15312-0156
701 Market Street, Suite 5000
Philadelphia, PA 19106-1541

Kidney Care Center                             New Residential Mortgage LLC             Office of the United States Trustee
280 North Avenue                               P.O. Box 10826                           Liberty Center.
Washington, PA 15301-3513                      Greenville, SC 29603-0826                1001 Liberty Avenue, Suite 970
                                                                                        Pittsburgh, PA 15222-3721


PA-American Water                              Paypal Credit                            (p)PORTFOLIO RECOVERY ASSOCIATES LLC
P.O. Box 371412                                P.O. Box 105658                          PO BOX 41067
Pittsburgh, PA 15250-7412                      Atlanta, GA 30348-5658                   NORFOLK VA 23541-1067



Quality Asset Recovery / Cornerstone Car       Synchrony Bank                           Trac/CBCD/Citicorp
Attn: Bankruptcy                               c/o of PRA Receivables Management, LLC   Citicorp Credit/Centralized Bankruptcy
Po Box 239                                     PO Box 41021                             Po Box 20507
Gibbsboro, NJ 08026-0239                       Norfolk, VA 23541-1021                   Kansas City, MO 64195-0507


 Transworld / Bartusiak Dental                 US Dept of Education                     Onifund CCR
 500 Virginia Drive, Suite 514                 P.O. Box 105028                          10625 Techwoods Circle
 Fort Washington, PA 19034-2733                Atlanta, GA 30348-5028                   Cincinnati, OB 45242-2846
              Case 19-22280-CMB               Doc 76-1 Filed 07/28/20 Entered 07/28/20 08:17:25                                  Desc
Us Dept Of Ed/glelsi                           Certificate
                                                 Verizon   of Service Page 3 of 3  Verizon
Po Box 7860                                         Verizon Wireless Bk Admin                             by American InfoSource as agent
Madison, WI 53707-7860                              500 Technology Dr Ste, 550                            PO Box 4457
                                                    Weldon Springs, MO 63304-2225                         Houston, TX 77210-4457


Washington Health System                            Wells Fargo Bank N.A., d/b/a Wells Fargo Aut          Wells Fargo Dealer Services
P.O. Box 16243                                      PO Box 130000                                         Attn: Bankruptcy
Pittsburgh, PA 15242-0243                           Raleigh NC 27605-1000                                 Po Box 19657
                                                                                                          Irvine, CA 92623-9657


West Penn Power                                     West Penn Power                                       Cathleen L Pancari
5001 NASA Blvd.                                     P.O. Box 3687                                         1160 Cross Creek Road
Fairmont, WV 26554-8248                             Akron, OH 44309-3687                                  Burgettstown, PA 15021-2402



David A. Rice                                       Mark A. Pancari                                       Ronda J. Winnecour
Rice & Associates Law Firm                          1160 Cross Creek Road                                 Suite 3250, USX Tower
15 West Beau Street                                 Burgettstown, PA 15021-2402                           600 Grant Street
Washington, PA 15301-6806                                                                                 Pittsburgh, PA 15219-2702


Scott R. Lowden
Nicotero & Lowden PC
3948 Monroeville Blvd., Suite 2
Monroeville, PA 15146-2437




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g) (4).


Columbia Gas                                         (d)Columbia Gas of PA                                Discover Financial
P.O. Box 742537                                      P.O. Box 117                                         Attn: Bankruptcy Department
Cincinnati, OH 45274                                 Columbus, OH 43216                                   Po Box 15316
                                                                                                          Wilmington, DE 19850


Portfolio Recovery Associates, LLC
POB 12914
Norfolk VA 23541




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


 (u)DITECH FINANCIAL LLC                             (u)New Residential Mortgage LLC                       End of Label Matrix
                                                                                                           Mailable recipients     42
                                                                                                           Bypassed recipients      2
                                                                                                           Total                   44
